                                                 CIVIL
                             Case 1:18-cv-03013-PLF    COVER1SHEET
                                                    Document   Filed 12/20/18 Page 1 of 2
JS-44
(Rev.1/05 DC)
 I (a) PLAINTIFFS                                                                       DEFENDANTS
 Estate of Esther Klieman, et al.                                                        The Palestinian Authority,
                                                                                         The Palestinian Liberation Organization
                                                                                        COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
                                                                      88888                                (IN U.S. PLAINTIFF CASES ONLY)
  (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF
           (EXCEPT IN U.S. PLAINTIFF CASES)                                             LAND INVOLVED
    (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                            ATTORNEYS (IF KNOWN)

 Tracy Reichman Kalik
 Heideman Nudelman & Kalik, PC
 1146 19th Street NW
 Fifth Floor
 Washington, DC 20036
 Tel: (202) 463-1818


 II. BASIS OF JURISDICTION                                             III CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX
      (PLACE AN x IN ONE BOX ONLY)                                     FOR PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

                                                                                                   PTF       DFT                                           PTF       DFT
         1 U.S. Government          3 Federal Question
         Plaintiff                    (U.S. Government Not a Party)
                                                                       Citizen of this State             1         1    Incorporated or Principal Place          4          4
                                                                                                                        of Business in This State
         2 U.S. Government          4 Diversity
         Defendant                    (Indicate Citizenship of         Citizen of Another State          2         2    Incorporated and Principal Place         5         5
                                      Parties in item III)                                                              of Business in Another State
                                                                       Citizen or Subject of a           3         3
                                                                       Foreign Country                                  Foreign Nation                           6         6


                                          IV. CASE ASSIGNMENT AND NATURE OF SUIT
           (Place a X in one category, A-N, that best represents your cause of action and one in a corresponding Nature of Suit)
      A. Antitrust                 B. Personal Injury/                            C. Administrative Agency                           D. Temporary Restraining
                                    Malpractice                                    Review                                               Order/Preliminary
                                                                                                                                        Injunction
                                                                                  151 Medicare Act
         410 Antitrust         310 Airplane                                                                                      Any nature of suit from any category may
                                                                            Social Security:                                     be selected for this category of case
                               315 Airplane Product Liability
                                                                                  861 HIA ((1395ff)                              assignment.
                               320 Assault, Libel & Slander
                                                                                  862 Black Lung (923)
                               330 Federal Employers Liability
                                                                                  863 DIWC/DIWW (405(g)                          *(If Antitrust, then A governs)*
                               340 Marine
                                                                                  864 SSID Title XVI
                               345 Marine Product Liability
                                                                                  865 RSI (405(g)
                               350 Motor Vehicle
                                                                            Other Statutes
                               355 Motor Vehicle Product Liability
                                                                                  891 Agricultural Acts
                               360 Other Personal Injury
                                                                                  892 Economic Stabilization Act
                               362 Medical Malpractice
                                                                                  893 Environmental Matters
                               365 Product Liability
                                                                                  894 Energy Allocation Act
                               368 Asbestos Product Liability
                                                                                  890 Other Statutory Actions (If
                                                                                      Administrative Agency is Involved)

          E. General Civil (Other)                           OR                            F. Pro Se General Civil
  Real Property                                 Bankruptcy                                     Forfeiture/Penalty
     210 Land Condemnation                         422 Appeal 28 USC 158                           610 Agriculture                     470 Racketeer Influenced &
     220 Foreclosure                               423 Withdrawal 28 USC 157                       620 Other Food &Drug                     Corrupt Organizations
     230 Rent, Lease & Ejectment                                                                   625 Drug Related Seizure            480 Consumer Credit
     240 Torts to Land                          Prisoner Petitions                                      of Property 21 USC 881         490 Cable/Satellite TV
     245 Tort Product Liability                     535 Death Penalty                              630 Liquor Laws                     810 Selective Service
     290 All Other Real Property                    540 Mandamus & Other                           640 RR & Truck                      850 Securities/Commodities/
                                                    550 Civil Rights                               650 Airline Regs                         Exchange
  Personal Property                                 555 Prison Condition                           660 Occupational                    875 Customer Challenge 12 USC
     370 Other Fraud                                                                                    Safety/Health                       3410
     371 Truth in Lending                       Property Rights                                    690 Other                           900 Appeal of fee determination
     380 Other Personal Property Damage            820 Copyrights                                                                           under equal access to Justice
     385 Property Damage Product Liability         830 Patent                                                                          950 Constitutionality of State
                                                   840 Trademark                               Other Statutes                               Statutes
                                                                                                  400 State Reapportionment            890 Other Statutory Actions (if
                                                Federal Tax Suits                                 430 Banks & Banking                       not administrative agency
                                                   870 Taxes (US plaintiff or                     450 Commerce/ICC                       review or Privacy Act
                                                        defendant                                      Rates/etc.
                                                   871 IRS-Third Party 26                         460 Deportation
                                                        USC 7609
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       G. Habeas Corpus/       H. Employment         I. FOIA/PRIVACY           J. Student Loan
          2255                    Discrimination       ACT
                                                                                                                                                 152 Recovery of Defaulted
        530 Habeas Corpus-General                   442 Civil Rights-Employment                   895 Freedom of Information Act                     Student Loans
        510 Motion/Vacate Sentence                      (criteria: race, gender/sex,              890 Other Statutory Actions                        (excluding veterans)
                                                        national origin,                              (if Privacy Act)
                                                        discrimination, disability
                                                        age, religion, retaliation)

                                             *(If pro se, select this deck)*               *(If pro se, select this deck)*

        K. Labor/ERISA                                   L. Other Civil Rights                           M. Contract                               N. Three-Judge Court
          (non-employment)                               (non-employment)                             110 Insurance                                   441 Civil Rights-Voting
                                                                                                      120 Marine                                          (if Voting Rights Act)
        710 Fair Labor Standards Act                    441 Voting (if not Voting Rights              130 Miller Act
        720 Labor/Mgmt. Relations                           Act)                                      140 Negotiable Instrument
        730 Labor/Mgmt. Reporting &                     443 Housing/Accommodations                    150 Recovery of Overpayment &
            Disclosure Act                              444 Welfare                                   Enforcement of Judgment
        740 Labor Railway Act                           440 Other Civil Rights                        153 Recovery of Overpayment of
        790 Other Labor Litigation                      445 American w/Disabilities-                  Veteran’s Benefits
        791 Empl. Ret. Inc. Security Act                    Employment                                160 Stockholder’s Suits
                                                        446 Americans w/Disabilities-                 190 Other Contracts
                                                            Other                                     195 Contract Product Liability
                                                                                                      196 Franchise

V. ORIGIN
        1 Original           2 Removed             3 Remanded from               4 Reinstated            5 Transferred from             6 Multi district           7 Appeal to
          Proceeding           from State            Appellate Court              or Reopened              another district               Litigation                 District Judge
                               Court                                                                       (specify)                                                 from Mag. Judge


VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Plaintiffs bring this action pursuant to the provisions of 18 U.S.C. 2331 and 2333 for their personal injury damages and punitive damages.


VII. REQUESTED IN                              CHECK IF THIS IS A CLASS                          DEMAND $  1,000,000,000                      Check YES only if demanded in complaint
    COMPLAINT                                  ACTION UNDER F.R.C.P. 23                              JURY DEMAND:                                YES               NO

VIII. RELATED CASE(S)                         (See instruction)                 YES                NO                 If yes, please complete related case form.
      IF ANY

DATE      December 20, 2018                 SIGNATURE OF ATTORNEY OF RECORD


                                                    INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                                  Authority for Civil Cover Sheet

            The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. Listed below are tips
for completing the civil cover sheet. These tips coincide with the Roman Numerals on the Cover Sheet.

           I.          COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff is resident of
                       Washington, D.C.; 88888 if plaintiff is resident of the United States but not of Washington, D.C., and 99999 if plaintiff is outside the United States.

           III.        CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction under Section
                       II.

           IV.         CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best represents the
                       primary cause of action found in your complaint. You may select only one category. You must also select one corresponding nature of suit found under
                       the category of case.

           VI.         CAUSE OF ACTION: Cite the US Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.       RELATED CASES, IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from the Clerk’s
                       Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
